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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


  John Doe.
                                                          Case No. 2:21-cv-20706
                 Plaintiff,

         v.

 Baila Sebrow

                 Defendant

               NOTICE OF MOTION TO REINSTATE THE COMPLAINT
To:    Baila Sebrow
       12 Beechwood Drive
       Lawrence, New York 11559

       PLEASE TAKE NOTICE that on July 5, 2022 at 10:00 a.m., or such other time as fixed

by the Court, the undersigned attorney for the plaintiff, JOHN DOE, will move before the United

States District Court of the District of New Jersey, to reinstate the complaint of the plaintiff and

to vacate the dismissal order dated May 23, 2022.

       In support of this motion, the Plaintiff will submit the Declaration of Daniel S.

Szalkiewicz, Esq. A proposed Order is also submitted herewith pursuant to Local Rule 7.1(e).

Dated: June 16, 2022
       New York, New York
                                                      Respectfully submitted,

                                                      /s/Daniel Szalkiewicz
                                               By:    Daniel S. Szalkiewicz, Esq. (DS2323)




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